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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:07CR125
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )                     ORDER
                                            )
CHI’DAE SEVILLE GORDON,                     )
                                            )
             Defendant.                     )


      This matter is before the Court on the Defendant’s motion to extend the her self

surrender date (Filing No. 76).

      The Court will grant the request to continue the self surrender date to Monday,

January 7, 2008. The Court cautions that it is unlikely any further continuances will be

granted.

      IT IS ORDERED:

      1.     The Defendant’s motion to extend her self surrender date (Filing No. 76) is

             granted;

      2.     The Defendant shall report no later than 2:00 p.m. on Monday, January 7,

             2008, to the institution designated by the U.S. Bureau of Prisons; and

      3.     The Clerk shall deliver a certified copy of this Order to the U.S. Marshal for

             this district.

      DATED this 10th day of December, 2006.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
